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            EXHIBIT A

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     UNITED STATES DISTRICT COURT
     FOR THE SOUTHERN DISTRICT OF NEW YORK
     ------------------------------------------X
     VIRGINIA L. GIUFFRE,

                      Plaintiff/ Counterclaim Defendant,

            -V-
                                 19-cv-03377-LAP
     ALAN DERSHOWITZ,
                   Defendant/ Counterclaim Plaintiff.
     ------------------------------------------X

     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF NEW YORK
     ------------------------------------------X
     DAVID BOIES,
                        Plaintiff/ Counterclaim Defendant,
           -V-              Index No.:
                            160874/2019

     ALAN DERSHOWITZ,

                        Defendant/ Counterclaim Plaintiff.
     ------------------------------------------X
                   DATE: December 16, 2020
                   TIME: 10:00 A.M.
               VIRTUAL VIDEOTAPED EXAMINATION
     BEFORE TRIAL of JOHN ZEIGER, taken by MR.
     COOPER, pursuant to Subpoena, held at the
     offices of Hindy Kaplan, a Notary Public of
     the State of New York.
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 1
 2   A P P E A R A N C E S:
 3
 4   (All parties appearing electronically)
 5
 6   COOPER & KIRK, PLLC
     For the Plaintiff Virginia Giuffre
 7   1523 New Hampshire Avenue. N.W.
     Washington, D.C. 20036
 8   BY:   HALEY PROCTOR
           NICOLE JO MOSS
 9         CHUCK COOPER
     Nmoss@cooperkirk.com
10   Hproctor@cooperkirk.com
     Ccooper@cooperkirk.com
11
12
     TODD & WELD LLP
13   For the Defendant Alan Dershowitz
     One Federal Street, 27th Floor
14   Boston, MA 02110
     BY:   HOWARD M. COOPER
15         CHRISTIAN G. KIELY
           KRISTINE C. OREN
16   Hcooper@toddweld.com
     Ckiely@toddweld.com
17   Koren@toddweld.com
18
19   AIDALA, BERTUNA & KAMINS, P.C.
     For the Defendant Alan Dershowitz
20   546 Fifth Avenue, 6th Floor
     New York, NY 10036
21   BY:   IMRAN H. ANSARI
           ARTHUR L. AIDALA
22         TAYLOR FRIEDMAN
     Iansari@aidalalaw.com
23   Aidalaesq@aidalalaw.com
24
25   (Appearances continued on the next page)
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 1
 2   (Continuation of appearances)
 3
     A P P E A R A N C E S:
 4
     (All parties appearing electronically)
 5
 6
 7   ZEIGER, TIGGES & LITTLE LLP
     Attorney for the witness John Zeiger
 8   41 S. High Street, Suite 3500
     Columbus, OH 43215
 9   BY:   MARION LITTLE, Esq.
     Little@litohio.com
10
11   BOIES SCHILLER FLEXNER LLP
     55 Hudson Yards -20th Floor
12   New York, NY 10001
     BY:   DAVID BOIES - pro se
13   Xboies@gmail.com
14
     SEYFARTH SHAW
15   Attorney for David Boies
     620 8th Avenue - suite 33
16   New York, New York 10018
     BY:   KAREN BITAR
17   Kbitar@seyfarth.com
18
19
20
     ALSO PRESENT:
21
     Videographer - Paige Snellen
22
     Alan Dershowitz
23
24
25
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 1
 2      F E D E R A L     S T I P U L A T I O N S
 3
       IT IS HEREBY STIPULATED AND AGREED by and
 4   between the counsel for the respective
     parties herein that the sealing, filing and
 5   certification of the within deposition be
     waived; that the original of the deposition
 6   may be signed and sworn to by the witness
     before anyone authorized to administer an
 7   oath, with the same effect as if signed
     before a Judge of the Court; that an
 8   unsigned copy of the deposition may be used
     with the same force and effect as if signed
 9   by the witness, 30 days after service of
     the original & 1 copy of same upon counsel
10   for the witness.
11     IT IS FURTHER STIPULATED AND AGREED that
     all objections except as to form, are
12   reserved to the time of trial.
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                                                                   Page 12
 1                         J. ZEIGER
 2   morning, David Boies, right?
 3                 MR. BOIES:    Objection.
 4         A.      Correct.
 5         Q.      And just to be specific, Mr.
 6   Boies, in substance, and we'll get into the
 7   particulars, communicated to you during
 8   that timeframe several times that his
 9   client Ms. Giuffre was accusing your client
10   Mr. Wexner of inappropriate sexual
11   involvement with her, right?
12                 MR. BOIES:    Objection.
13                 MR. LITTLE:     Objection to form.
14          Go ahead.
15         A.      Would you restate the question,
16   please?
17         Q.      Sure.   During that time period,
18   Mr. Boies in particular communicated to you
19   several times the accusation that
20   Ms. Giuffre was accusing Mr. Wexner of
21   inappropriate sexual involvement with her,
22   right?
23                 MR. BOIES:    Objection.
24         A.      Correct.
25         Q.      Now, you were told by Mr.




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 1                        J. ZEIGER
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23         Q.      He communicated to you that
24   those inappropriate sexual involvements
25   began in the fall of 1999 and extended




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 1                        J. ZEIGER
 2   through the summer of 2002, correct?
 3                 MR. BOIES:    Objection.
 4         A.      Mr. Boies did not state that.
 5   One of his colleagues did in that
 6   timeframe.
 7         Q.      Which colleague was that?
 8         A.      Sigrid McCawley.
 9         Q.      And she's also a lawyer at
10   Boies Schiller and Flexner, correct?
11         A.      That is my understanding.
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 1                        J. ZEIGER
 2         Q.      We'll take a look at some
 3   documents later.      But your best memory as
 4   you sit here today is that it was earlier
 5   than the summer of 2002?
 6         A.      It was the time when
 7   Ms. Giuffre left for Thailand and I had the
 8   recollection that that is the spring of
 9   2002.
10
11
12
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17                 MR. BOIES:    Objection.
18                 MR. LITTLE:     Objection to form.
19           Asked and answered.
20         A.      That is my best recollection.
21
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 1                         J. ZEIGER
 2                 MR. BOIES:     Objection.
 3          A.     I don't know what writing
 4    you're speaking of.       If you have one that
 5    you would like me to review, I'm glad to do
 6    so.
 7          Q.     We'll get to it.       But for the
 8    moment let me see if I can refresh your
 9    memory do you recall sending Boies Schiller
10    and Flexner a protocol drafted by your
11    office?
12          A.     I do.
13          Q.     Have you reviewed that document
14    recently?
15          A.     Yes, I did.
16          Q.     And in that document did you
17    represent that your office, on behalf of
18    Mr. Wexner, had quote, "incontrovertible
19    proof," close quote, that Mr. Wexner had
20    never met Ms. Giuffre?
21          A.     I cannot remember the words,
22    "incontrovertible proof," that you keep
23    emphasizing.     I do believe that I was very
24    direct that we had a lot of proof, both
25    documentary and witnesses, that her claims
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 1                         J. ZEIGER
 2    are unfounded.
 3          Q.     And I take it that in fact she
 4    had never met Mr. Wexner, correct?
 5          A.     That's certainly my
 6    understanding of all the facts.
 7          Q.     But that's what you told the
 8    lawyers from Ms. Giuffre, that according to
 9    your review Mr. Wexner had never met
10    Ms. Giuffre?
11          A.     I believe that to be true.         I
12    do not remember those words in the document
13    that you have not chosen to put in front of
14    me.
15          Q.     Well, Now I'm just asking if
16    your memory, during your communications
17    with Ms. Giuffre's lawyer, whether you
18    communicated that Mr. Wexner never met
19    Ms. Giuffre.
20          A.     I have no specific recollection
21    of having used those words and responding
22    that there was no substance to the claims
23    against Mr. Wexner.
24          Q.     So if I understand your
25    testimony correctly, again, we'll look at
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 1                         J. ZEIGER
 2    some documents in a little bit, in 2015 you
 3    communicated to the lawyers at Boies
 4    Schiller and Flexner, that you understood
 5    to be representing Ms. Giuffre, that there
 6    was no substance to Ms. Giuffre's
 7    accusations against Mr. Wexner, correct?
 8                 MR. BOIES:     Objection.
 9          A.     Correct.
10          Q.     Did you do that clearly?
11                 MR. BOIES:     Objection.
12          A.     My understanding was that I was
13    very direct and clear.
14                 MS. PROCTOR:      Join.
15          Q.     Do you believe that you
16    communicated that unambiguously?
17                 MR. BOIES:     Objection.
18                 MS. PROCTOR:      Join.
19          A.     Yes.
20          Q.     Did you tell them that you
21    believed, based on your review, that the
22    allegations were nonsense?
23                 MR. BOIES:     Objection.
24                 MS. PROCTOR:      Join.
25          A.     I do not remember the use of
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 1                         J. ZEIGER
 2    the word nonsense.       I certainly said they
 3    had no substance.      They were untrue
 4    allegations.     I was very direct about that.
 5          Q.     Did Mr. Boies or any of the
 6    other -- let's start with Mr. Boies.           Did
 7    Mr. Boies claim to you that Ms. Giuffre had
 8    a diary which made mention of Mr. Wexner?
 9          A.     In one of the phone calls I had
10    with the Boies Schiller and Flexner firm,
11    either Mr. Boies or one of his colleagues
12    did refer to a diary.
13          Q.     Did you ask for it?
14          A.     Yes.    Repeatedly.
15          Q.     Did you receive it?
16          A.     I did not.
17          Q.     Did Mr. Boies ultimately
18    concede to you that there was no diary?
19          A.     Yes.
20          Q.     Did Mr. Boies concede to you
21    that he believed that his client's
22    allegations may very well be untrue?
23          A.     I don't know about the word
24    concession or concede.        Mr. Boies said on
25    several occasions that he knew his client




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 1                         J. ZEIGER
 2             product privilege.
 3            A.    I have no basis for saying what
 4    my expectation was in 2009.         I do know I
 5    asked the question.
 6            Q.    You asked what question, sir?
 7            A.    In the course of the discussion
 8    about financial information regarding
 9    Mr. Epstein's assets, I asked directly
10    whether there was any claim that Mr. Wexner
11    was involved in, any of the things that
12    were coming out at that time about
13    Ms. Giuffre and other women in Miami.
14          Q.     What response did you receive?
15          A.     Mr. Josefsberg responded
16    directly that Mr. Wexner -- Ms. Giuffre had
17    met Mr. Wexner but has never been involved
18    sexually with him.
19          Q.     You must have been shocked when
20    you saw the letter from Boies Schiller in
21    2015.
22                 MR. BOIES:     Objection.
23                 MR. LITTLE:      Objection to form.
24            And also the state of mind, to the
25            extent it requires any disclosed or




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 1                         J. ZEIGER
 2           work product privilege.
 3                 MS. PROCTOR:      Join.
 4          Q.     What was your reaction when you
 5    saw the letter in 2015?
 6          A.     I don't know about shock.           But
 7    surprise I think is a fair word.
 8          Q.     When you were communicating
 9    with the Boies Schiller Flexner lawyers in
10    the 2014, 2015 time period, did you tell
11    them about this meeting and what had been
12    said in 2009?
13          A.     I did not communicate with the
14    Boies Schiller law firm in 2014.          In a
15    meeting in July 2015 I told Mr. Boies and
16    his colleagues very directly about the
17    conversation with Mr. Josefsberg.
18          Q.     And did you make clear to Mr.
19    Boies and his colleagues that at that
20    meeting no accusation could be made on
21    behalf of Ms. Giuffre about Mr. Wexner?
22          A.     I believe what I said was that
23    there was an affirmative statement made by
24    Mr. Josefsberg that there had been no
25    sexual involvement with Mr. Wexner about




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 1                         J. ZEIGER
 2    Ms. Giuffre.
 3           Q.     Were you clear in your
 4    statement?
 5                  MR. BOIES:    Objection.
 6           A.     I intended to be.      I think I
 7    was.
 8           Q.     What was the response, if any?
 9           A.     As I remember it, Mr. Boies
10    said he was surprised to hear this, that he
11    had never heard it before, looked at
12    Ms. McCawley, and I took it as, with some
13    irritation, that she had not told him that.
14           Q.    Now, sir, you responded a few
15    minutes ago to a question about -- that I
16    asked about professor Dershowitz informing
17    you of a conversation with Abigail Wexner
18    by saying that Ms. Wexner had never used
19    the word extortion with professor
20    Dershowitz.     So let me just follow that up.
21                 Were you participating at any
22    point in time in a call between professor
23    Dershowitz and Mrs. Wexner?
24           A.    No.
25           Q.    So I take it you have no




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 1                         J. ZEIGER
 2                 VIDEOGRAPHER:      The time is
 3           11:44 a.m.     We are going off the
 4           record.
 5                 (Whereupon, an off-the-record
 6           discussion was held.)
 7                 VIDEOGRAPHER:      The time is
 8           11:56 a.m.     You may proceed.
 9          Q.     Mr. Zeiger, before asking you
10    some questions about what I hope made it
11    into being marked as Exhibit 4, let me just
12    do a little bit of cleanup on my prior
13    questions.
14                 You would agree with me that
15    you personally have no knowledge as to
16    whether Mr. Wexner had sex of any kind with
17    Ms. Giuffre, is that fair?
18          A.     No.
19          Q.     That's not fair?
20          A.     I do not believe that's
21    accurate.
22          Q.     Why is that inaccurate?
23          A.     I know what Mr. Wexner has
24    publically stated, that he never met her or
25    was involved with her.        I know what her




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 1                         J. ZEIGER
 2    lawyer, Mr. Josefsberg stated, which was
 3    that he was never involved with her.           I
 4    know what her lawyer Brad Edwards said,
 5    which was that he was never involved with
 6    her.     And I have seen a very substantial
 7    pile of documents that establish that he
 8    was not where she contended he was in the
 9    timeframe at issue.
10                 So I believe I have a lot of
11    information from which to draw the
12    conclusion that Mr. Wexner was never
13    involved, all which is unprivileged.           And
14    then there is other privileged information
15    that I can't go into.
16           Q.    I appreciate the clarity of
17    your answer.     So your view is that even
18    someone who wasn't in the room, so to
19    speak, learning what you know would be
20    convinced that Mr. Wexner never met
21    Virginia Giuffre and had sex with her,
22    right?
23                 MR. BOIES:     Objection.
24                 MS. PROCTOR:      Join.
25           A.    You're again calling for my




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 1                         J. ZEIGER
 2    supposition or state of mind.          But I do
 3    believe that the facts are overwhelmingly
 4    clear.
 5            Q.   You did your best to
 6    communicate all of those facts to
 7    Ms. Giuffre's lawyers back in 2015,
 8    correct?
 9            A.   The ones that existed at that
10    time.    Mr. Edwards' statement had not been
11    made as of that date.
12          Q.     But all the other things that
13    you did describe did exist, correct?
14          A.     They did.     They did.
15          Q.     Do you feel ascertain about
16    your view today as you did back in 2015?
17          A.     Yes.
18          Q.     Now, when you say Mr. Wexner
19    has made public statements denying that he
20    ever met Ms. Giuffre, do you have any
21    particular public statements in mind?
22          A.     There are two statements that
23    Mr. Wexner released at various times, one
24    to employees of the company and one to the
25    Wexner foundation fellows, both of which




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 1                         J. ZEIGER
 2    relationship with them, as well?
 3            A.   I do not have a social
 4    relationship with them.
 5            Q.   Have you met Jeffery Epstein?
 6    Did you meet Jeffery Epstein?
 7            A.   No.
 8            Q.   To clarify, you did not know
 9    Mr. Wexner between the summer of 2000 and
10    the fall of 2002, beyond just shaking hands
11    and saying hello?
12          A.     That would be true.
13          Q.     So you would not have been
14    continuously in Mr. Wexner's presence
15    during that timeframe?
16          A.     I clearly was not.
17          Q.     Is it safe to say that you have
18    no direct personal knowledge of
19    Mr. Wexner's interactions, if any, with
20    Mr. Giuffre?
21          A.     No.    I don't believe that's
22    fair.
23          Q.     What direct personal knowledge
24    would you have of his interactions during
25    that time period?




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 1                         J. ZEIGER
 2          A.     As it relates to Ms. Giuffre, I
 3    believe I have personal knowledge of what
 4    was told to me by Mr. Josefsberg, what I
 5    read that Mr. Edwards has stated, and a
 6    vast amount of documentation that's
 7    inconsistent with Ms. Giuffre's claims, and
 8    I have other privileged information that
 9    I'm not able to rely on or share.
10          Q.     None of those pieces of
11    information that was based on your direct
12    personal experience being present with
13    Mr. Wexner in 2000, 2001, 2002, is that
14    accurate?
15          A.     I was not personally with
16    Mr. Wexner, to my recollection, in that
17    timeframe you have identified.
18          Q.     Any knowledge you have about
19    his whereabouts during that timeframe would
20    be derived from these records that you have
21    reviewed?
22          A.     Other than information that I
23    can't go into because of the privilege.
24          Q.     You previously testified, is
25    that correct, that you have not met




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 1                         J. ZEIGER
 2    Ms. Giuffre?
 3          A.     I have not met Ms. Giuffre and
 4    I believe I previously testified to that.
 5          Q.     Have you witnessed her give any
 6    testimony concerning Mr. Wexner?
 7          A.     No.
 8          Q.     So is it safe to say you have
 9    not made any firsthand observations
10    concerning plaintiff's creditability?
11          A.     I think I have seen a lot of
12    things that impact the plaintiff's
13    creditability, if you're referring to
14    Ms. Giuffre.     I have not seen Ms. Giuffre
15    up close in person so that I could make any
16    independent judgment on her presence or
17    immediate statements.
18          Q.     One of the pieces of
19    information on which you have testified
20    that you have relied to form your
21    conclusions concerning her accusations is a
22    statement that Robert Josefsberg made to
23    you in 2009, is that correct?
24          A.     Yes.
25          Q.     And you had testified that he




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 1                         J. ZEIGER
 2    claims that they did not have any sort of
 3    sexual interaction, is that correct?
 4          A.     He stated that she claimed to
 5    have met him once or twice, but that they
 6    were never in bed together.
 7          Q.     So he did state to you that
 8    Ms. Giuffre had claimed to have met
 9    Mr. Wexner?
10          A.     Yes.
11          Q.     All right.     If we can return to
12    the exhibit marked Zeiger 12.         This is the
13    e-mail transmitting the protocol and the
14    protocol itself.      And if you turn to the
15    second page of the exhibit, which is the
16    first page of the document titled protocol
17    for independent review of calendars and
18    passenger flight history logs.
19          A.     Yes, I have it.
20          Q.     Okay.    You were previously
21    asked about the sentence in which you state
22    or in which the protocol states, "Zeiger
23    has responded that he has incontrovertible
24    proof that his client, Z client," who I
25    understand to be Ms. Giuffre -- I'm sorry.




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 2                C E R T I F I C A T E
 3
      STATE OF NEW YORK           )
 4                                :   SS.:
      COUNTY OF NEW YORK          )
 5
 6           I, HINDY KAPLAN, a Notary Public for
 7    and within the State of New York, do hereby
 8    certify:
 9           That the witness whose examination is
10    hereinbefore set forth was duly sworn and
11    that such examination is a true record of
12    the testimony given by that witness.
13           I further certify that I am not
14    related to any of the parties to this
15    action by blood or by marriage and that I
16    am in no way interested in the outcome of
17    this matter.
18           IN WITNESS WHEREOF, I have hereunto
19    set my hand this 16th day of December 2020.
20
21
22
                       ________________________
23                           HINDY KAPLAN
24
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